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                    IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DISTRICT OF COLUMBIA,

              Plaintiff,                          Case No. 1:21-cv-03267 (APM)

       vs.

PROUD BOYS INTERNATIONAL, L.L.C.,
et. al.,

              Defendants.



                                 NOTICE OF APPEARANCE
       Pursuant to LCvR 83.6(a), Defendant Jon Ryan Schaffer, by and through
undersigned counsel, hereby gives notice that Jody L. Broaddus of The Attorneys For
Freedom Law Firm, makes her appearance as counsel of record for Defendant Jon Ryan
Schaffer in the above-captioned matter. All future notices, pleadings, papers and other
material pertaining to this action should be directed to:


                                     Jody L. Broaddus, Esq.
                                 ATTORNEYS FOR FREEDOM
                                    Arizona State Bar 020122
                                     3185 South Price Road
                                    Chandler, Arizona 85248
                                Jody@AttorneysForFreedom.com




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      RESPECTFULLY SUBMITTED this 9th day of May, 2023.
                                         ATTORNEYS FOR FREEDOM LAW FIRM

                                         /s/ Jody L. Broaddus
                                         Jody L. Broaddus
                                         Attorney for Defendant Jon Ryan Shaffer


                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 9, 2023, a copy of the foregoing was sent via

ECF to the United States Attorney’s Office for the District of Columbia.

                                         Respectfully submitted,


DATED: May 9, 2023.                      /s/ Jody L. Broaddus
                                         Jody L. Broaddus – AZ Bar 020122
                                         ATTORNEYS FOR FREEDOM
                                         3185 S. Price Road
                                         Chandler, Arizona 85248
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                                         Counsel for Defendant Jon Ryan Schaffer




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